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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.      CV 20-8523-JFW(JEMx)                                                Date: October 2, 2020

Title:        Philip Holstein, et al. -v- Lisa Duboise, et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                     None Present
              Courtroom Deputy                                   Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                      ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                   None

PROCEEDINGS (IN CHAMBERS):                 ORDER TO SHOW CAUSE


       On September 17, 2020, Plaintiffs Philip Holstein, Thundercloud Group Pension Trust,
Holstein Partnership II, Sara Laurel Cloud Holstein, Matthew Holstein, Kate Holstein, and
Samantha R. Elders (collectively, “Plaintiffs”) filed a verified Complaint and an Ex Parte Application
for Temporary Restraining Order and Order to Show Cause Re Issuance of Preliminary Injunction
(“Application”). Docket No. 11. On September 21, 2020, the Court issued an Order to Show
Cause Why This Action Should Not Be Dismissed For Lack of Subject Matter Jurisdiction (“OSC”).
Docket No. 15. On September 23, 2020, Plaintiffs filed their Response to the OSC. Docket Nos.
16 and 17. In their Response, Plaintiff requested permission to file a verified First Amended
Complaint to add the Philip Holstein Family Trust as a plaintiff and remove Holstein Partnership II
as a plaintiff. On September 24, 2020, the Court granted Plaintiff’s Request to file a verified First
Amended Complaint. Docket No. 20. In its September 24, 2020 Order, the Court specifically
stated that “the Court will defer ruling on the Plaintiffs’ [Application] or discharging the OSC until
the Court has had an opportunity to review the First Amended Complaint and any opposition that
may be filed.” However, Plaintiffs have failed to file a verified First Amended Complaint.

        Accordingly, Plaintiffs are hereby ordered to show cause, in writing, no later than October 5,
2020, why this action should not be dismissed for lack of subject matter jurisdiction and why
Plaintiffs’ Application should not be denied in light of Plaintiffs’ failure to file a verified First
Amended Complaint. No oral argument on this matter will be heard unless otherwise ordered by
the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand submitted upon the filing
of the response to the Order to Show Cause. Failure to respond to the Order to Show Cause will
result in the denial of the Application and the dismissal of this action.

         IT IS SO ORDERED.


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